Case 15-66682-jrs         Doc 46    Filed 07/21/17 Entered 07/21/17 21:18:48                  Desc Main
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                     R   IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE Northern
                                  NORTHERN District of Georgia
                                                DISTRICT    OF ILLINOIS
                                    ATLANTA
                                     CHICAGO DIVISION



  IN RE: TYRIOM DEMETRICE
         FULGENCIO        EDWARDS
                   ARELLANO

  CASE NO. 1-15-BK-66682
           1-15-BK-27163

  CLAIM: 5#5


                 NOTICE OF CHANGE OF ADDRESS BY A CREDITOR

       COMES NOW,
       COMES      NOW, Cach, Llc hereby
                          hereby        request
                                  request  the the  Trusteenotice
                                                 Trustee    notice and
                                                                   and payment
                                                                       paymentaddress on its
                                                                                  address onclaim
       for claim
       its the above
                  formentioned
                      the abovecase be changedcase
                                 mentioned      frombe
                                                     thechanged
                                                         following from
                                                                    address:
                                                                          the following
       address:
                                             CACH, LLC
                                       4340
                                         4340SSMONACO  ST
                                               MONACO ST
                                                FL
                                                FL 22
                               DENVER
                                 DENVER CO 80237-3485
                                        CO 80237-3485
         To the new address below:
                                              CACH, LLC
                                         PO
                                          POBox    10587
                                              Box 10587
                                    Greenville
                                     Greenville SC 29603-0587
                                                SC 29603-0587


       This address change pertains to Trustee payments and all other correspondences
       for this claim filed by the Creditor.

  /s/ Bruce
  /s/ LeoannJobe
              Shannon                                                         Date: 7/5/2017
                                                                                    06/01/2017
  Leoann Shannon
  Bruce  Jobe
  Telephone: (877)  264-5884
              (864) 248-8725
